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                               UNITED STATES DISTRICT COURT
                              CENTRAL DISTRICT OF CALIFORNIA

                                       CIVIL MINUTES - GENERAL
 Case No.       CV 11-7098-ABC(SHx)                                             Date       January 7, 2014
 Title          Perfect 10, Inc. v. Giganews, Inc., et al.,




 Present: The                              Stephen J. Hillman, United States Magistrate Judge
 Honorable
                  Stephanie M. Lee                                            CS 1/7/2014
                    Deputy Clerk                                       Court Reporter / Recorder


                       Plaintiff                                               Defendant
                Lynell Diondra Davis                                      Andrew P. Bridges
                                                                            Kathleen Lu
                                                                             Ilana Rubel
                                                                          Ronald Yokubatis
                                                                          Dr. Norman Zada


 Proceedings:              TELEPHONIC HEARING: MOTION FOR PROTECTIVE ORDER

         Case called. Counsel stated their appearances.

       Oral argument heard. The Court took the matter under submission. The parties are ordered to
submit respective proposed orders on disk on or before Thursday, January 9, 2014.

IT IS SO ORDERED.




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                                                              Initials of Preparer   sml




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